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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

        v.
                                                          Case No. 18-cr-00028 (EGS)
 JARRELL HARRIS,


               Defendant.


                    THE DISTRICT OF COLUMBIA’S RESPONSE
                   TO THE COURT’S MAY 11, 2018 MINUTE ORDER

       The District of Columbia Department of Corrections (DOC) responds to the Court’s May 11,

2018 Minute Order as follows:

I.     Whether There Have Been Any Additional Erroneous Releases Since the May 8, 2018
       Filing

       From June 6, 2018 to July 6, 2018, the DOC Inmate Record Office processed 5,387

transactions, 1,152 of which were releases. There were no erroneous releases.

II.    The Status of Hiring Additional Records Office Staff

       Candidates have been selected for four Records Office positions—three Legal Instrument

Examiners (LIEs) and one Lead LIE. The candidates are undergoing a background investigation,

which should be complete within the next week. After two weeks of training, the LIEs will begin

work in the Records Office.

III.   The Status of Hiring an Independent Consultant to Study and Provide
       Recommendations on Improving Records Office Operations and Procedures

       On July 3, 2018, DOC received preliminary recommendations from its consultant, The Moss

Group (TMG), some of which were implemented by DOC immediately. For example, on July 2,

2018, DOC assigned an LIE to the Inmate Reception Center, whose duties include the processing of
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documents received for each inmate intake and court return taken into the custody of DOC.

        DOC continues to meet with other stakeholders in the release process to improve the

procedures and discuss TMG’s additional recommendations. TMG’s final report is due before

September 1, 2018.

IV.     Whether DOC Has Determined That Additional Remedial Action is Necessary and If
        So, the Status of Such Remedial Action

        As noted above, DOC has implemented several preliminary recommendations of TMG.

V.      Whether DOC Receives Adequate Financial Resources from the District of Columbia

        The District of Columbia continues to provide adequate financial resources to DOC for this

initiative.


Dated: July 11, 2018.              Respectfully submitted,

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